                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO


In re:                                         ) Case No. 17-17361
                                               ) Chapter 11
RICHARD M. OSBORNE                             )
                                               ) Judge Arthur I. Harris
               Debtor                          )
                                               )

            LIMITED OBJECTION OF CITIZENS BANK, N.A. TO
   DEBTOR’S MOTION TO SELL PARCEL OF REAL PROPERTY LOCATED AT
GIRDLED ROAD, CONCORD TOWNSHIP, OHIO FREE OF ANY INTEREST OF ANY
                  ENTITY OTHER THAN THE ESTATE


         Citizens Bank, N.A. fka RBS Citizens, N.A. dba Charter One (“Citizens”), by and

through counsel, objects to Debtor’s Motion to Sell Parcel of Real Property Located at Girdled

Road, Concord Township, Ohio Free of any Interest of any Entity Other Than The Estate [Doc.

121] (the “Motion”). While Citizens does not oppose the proposed sale generally, Citizens

objects to correct certain errors in the Motion and to address certain sale closing issues. In

support of this Objection, Citizens states as follows:

         1.    In the Motion, Debtor seeks to sell the real property identified as vacant land at

Girdled Road, Concord Township, Lake County, Ohio (PPN 08A0010000490) (the “Property”).

         2.    As evidenced by the Full Search attached as Exhibit B to the Motion (the “Title

Search”), Citizens has the first and best lien on the Property based on a judgment lien filed on

August 21, 2009 with the Clerk of the Lake County Common Pleas Court as judgment lien no.

09-JL-004014, and which judgment lien was renewed on August 18, 2014 as judgment lien no.

14-JL-003247 (collectively, the “Judgment Lien”).




17-17361-aih     Doc 146      FILED 05/15/18       ENTERED 05/15/18 10:40:15        Page 1 of 5
        3.     Additionally, Citizens holds a mortgage on the Property pursuant to a mortgage,

which was recorded with the Lake County Recorder on June 4, 2014 as Instrument No.

2014R013442 (the “Mortgage”).1

        4.     On April 18, 2018, Citizens filed a proof of claim (the “Claim”) in the amount of

$8,076,373.53 plus other amounts as stated in the Claim. In the Statement of Claim, which is

attached as part of the Claim, the history of the secured obligations owed to Citizens is outlined

in detail. The Claim is designated by the Court as Claim No. 28.

        5.     Citizens objects to the Motion and the proposed Order for the following reasons:

               a.       The lienholder should be properly identified as Citizens Bank, N.A. rather

than its former name, RBS Citizens, N.A.

               b.       Citizens’ first and best lien on the Property should be properly referenced

as the Judgment Lien.

               c.       The Motion and the proposed Order appear to improperly assert that if

Citizens is later paid in full from some other source, the Court could review whether the

proceeds received by Citizens from the sale of this Property would have to be returned to the

Debtor. It is undisputed that Citizens has the first and best lien on the Property (after real estate

taxes) and that there remains a balance owed well in excess of the potential Net Proceeds that

may be derived from the sale of the Property.

               d.       While the Motion implies that Citizens will receive the Net Proceeds, no

settlement statement has been attached to the Motion to indicate what amounts will be deducted

from the purchase price, and how much Citizens will receive from the sale of its collateral.




1
 Citizens is not aware of the existence of the “Mortgage” identified in paragraph 6 of the
Motion, nor is that mortgage referenced in the Title Search.


2347190.1                                        2
17-17361-aih        Doc 146   FILED 05/15/18         ENTERED 05/15/18 10:40:15          Page 2 of 5
               e.       The proposed Order authorizes the Debtor to make distributions of the sale

proceeds, when the distributions should be made directly by the Escrow Agent so that Citizens

receives its funds without delay at Closing by wire transfer pursuant to instructions to be

provided by Citizens to the Escrow Agent.

        WHEREFORE, Citizens respectfully requests that its Objection be sustained and that the

Debtor be required to modify the proposed Order to address Citizens’ objections to the Motion

and the proposed Order, and for such other and further relief as may be allowable pursuant to

applicable law or in equity.

                                      Respectfully submitted,

                                      /s/ Michael S. Tucker_______________
                                      Michael S. Tucker (0034398)
                                      ULMER & BERNE LLP
                                      1660 West 2nd Street, Suite 1100
                                      Cleveland, OH 44113-1448
                                      (216) 583-7120
                                       (216) 583-7121 (Fax)
                                      mtucker@ulmer.com
                                      Counsel for Citizens Bank, N.A. fka RBS Citizens, N.A.
                                      dba Charter One




2347190.1                                        3
17-17361-aih        Doc 146    FILED 05/15/18        ENTERED 05/15/18 10:40:15       Page 3 of 5
                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 15, 2018, a copy of the foregoing Limited Objection was
filed electronically. Notice of this filing will be sent to all parties registered to receive electronic
notices through the Court’s CM/ECF system as listed below. Parties may access this filing
through the Court’s PACER system.

        Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
        gamend@bdblaw.com, grichards@bdblaw.com

        Alison L. Archer on behalf of Interested Party Lakeland Community College
        alison.archer@ohioattorneygeneral.gov,
        Trish.Lazich@ohioattorneygeneral.gov;angelique.dennis-
        noland@ohioattorneygeneral.gov

        Adam S. Baker on behalf of Creditor Michael E. Osborne, Sr.
        abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com

        Austin B. Barnes, III on behalf of Creditor Tax Ease Ohio, LLC
        abarnes@sandhu-law.com, bk1notice@sandhu-law.com

        Robert D. Barr on behalf of Creditor Chicago Title Insurance Company
        rbarr@koehler.law, rbarr@koehler.law

        David T. Brady on behalf of Creditor Tax Ease Ohio, LLC
        DBrady@Sandhu-Law.com, bk1notice@sandhu-law.com

        Gregory M. Dennin on behalf of Debtor Richard M. Osborne
        greg@gmdlplaw.com, djensch1@roadrunner.com

        Stephen R. Franks on behalf of Creditor Bank of America, N.A.
        amps@manleydeas.com

        Christopher J. Klym on behalf of Creditor Ohio Department of Taxation
        bk@hhkwlaw.com, bk@hiklaw.com

        Matthew H. Matheney on behalf of Creditor First National Bank of Pennsylvania
        mmatheney@bdblaw.com, bhajduk@bdblaw.com

        Timothy P. Palmer on behalf of Creditor The Huntington National Bank
        timothy.palmer@bipc.com, donna.curcio@bipc.com

        Kirk W. Roessler on behalf of Creditor Estate of Jerome T. Osborne
        kroessler@walterhav.com, kballa@walterhav.com;slasalvia@walterhav.com

        John J. Rutter on behalf of Creditor Mentor Lumber & Supply Co.
        jrutter@ralaw.com



2347190.1                                          4
17-17361-aih      Doc 146      FILED 05/15/18          ENTERED 05/15/18 10:40:15          Page 4 of 5
        Frederic P. Schwieg on behalf of Debtor Richard M. Osborne
        fschwieg@schwieglaw.com

        Michael J. Sikora, III on behalf of Creditor Chicago Title Insurance Company
        msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com

        Nathaniel R. Sinn on behalf of Creditor First National Bank of Pennsylvania
        nsinn@bdblaw.com, kslatinsky@bdblaw.com

        Rachel L. Steinlage on behalf of Interested Party Zachary B Burkons
        rsteinlage@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com

        Andrew M. Tomko on behalf of Creditor Tax Ease Ohio, LLC
        atomko@sandhu-law.com, bk1notice@sandhu-law.com

        Jeffrey C. Toole on behalf of Interested Party Zachary B Burkons
        toole@buckleyking.com, young@buckleyking.com;heberlein@buckleyking.com

        Maria D. Giannirakis ust06 on behalf of U.S. Trustee United States Trustee
        maria.d.giannirakis@usdoj.gov

        Scott R. Belhorn ust35 on behalf of U.S. Trustee United States Trustee
        Scott.R.Belhorn@usdoj.gov



                                     /s/ Michael S. Tucker
                                     Michael S. Tucker (0034398)
                                     ULMER & BERNE LLP
                                     Counsel for Citizens Bank, N.A. fka RBS Citizens, N.A.
                                     dba Charter One




2347190.1                                       5
17-17361-aih     Doc 146     FILED 05/15/18         ENTERED 05/15/18 10:40:15         Page 5 of 5
